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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                     )
CAPITOL SPECIALTY INSURANCE          )
CORPORATION,                         )
                                     )
                Plaintiff,           )
                                     )
v.                                   )
                                     )
PJD ENTERTAINMENT OF WORCESTER, INC. )
D/B/A CENTERFOLDS II, and            )
KAILEE M. HIGGINS,                   )
                                     )
                Defendants.          )
                                     )

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, Capitol Specialty Insurance Corporation, by its attorneys, Zelle, McDonough &

Cohen LLP as and for its complaint for declaratory judgment alleges:

       1.      That at all times hereinafter mentioned Capitol Specialty Insurance Corporation,

(hereinafter “Capitol” or “plaintiff”) is a foreign corporation licensed to do business in the

Commonwealth of Massachusetts. Capitol’s state of incorporation is Wisconsin with its

principal place of business in Madison, Wisconsin.

       2.      Upon information and belief, defendant, PJD Entertainment of Worcester, Inc.

d/b/a Centerfolds II, (hereinafter known as “policyholder”) is a domestic corporation

incorporated under the laws and regulations of the Commonwealth of Massachusetts.

       3.      Upon information and belief, the policyholder’s principal place of business is

Worcester, Massachusetts.

       4.      Upon information and belief, defendant, Kailee M. Higgins, is a resident of

Worcester, Massachusetts.
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                                JURISDICTION AND VENUE

       5.      The plaintiff’s principal place of business is located in Madison, Wisconsin.

       6.      Defendant policyholder’s principal place of business is located in Worcester,

Massachusetts.

       7.      Defendant Higgins’ place of residence is Worcester, Massachusetts.

       8.      Therefore, federal jurisdiction exists by virtue of the diversity of citizenship

between parties pursuant to 28 U.S.C. §1332.

       9.      Additionally, federal jurisdiction exists pursuant to 28 U.S.C. § 1332 because the

amount in controversy exceeds $75,000, exclusive of interest and costs.

       10.     Venue is proper in the District Court for the District of Massachusetts pursuant to

28 U.S.C. 1391(b)(1) and 28 U.S.C. 1391(b)(2) as the defendants are residents of Worcester,

Massachusetts and/or a substantial part of the events or omissions giving rise to the claim

occurred in Worcester, Massachusetts.

                                  FACTUAL BACKGROUND

       11.     This declaratory judgment action arises out of an underlying personal injury

action instituted by defendant Higgins in the Superior Court of the County of Worcester bearing

Civil Action No. 13-0290 (hereinafter referred to as “underlying action”). A copy of the

Complaint and Claim for Jury Trial filed by defendant Higgins is attached hereto as Exhibit A.

       12.     The underlying Complaint alleges that defendant Higgins was a dancer at the

policyholder’s place of business and that the policyholder’s management/staff served and

encouraged excessive consumption of alcohol by defendant Higgins during the course of her

shift on November 27, 2010 through the early morning of November 28, 2010.




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          13.   The underlying Complaint goes on to allege that the policyholder’s management

and/or staff negligently allowed the defendant Higgins to leave the establishment and drive

despite her apparent intoxicated state.

          14.   Upon leaving and attempting to drive home defendant Higgins was involved in an

auto accident resulting in serious personal injuries.

          15.   At the time of the incident the policyholder was insured under an insurance

policy issued by plaintiff and bearing number PR02017535. A copy of this policy is attached

hereto as Exhibit B.

          16.   A portion of the policy is entitled “Liquor Liability Coverage Part.” This portion

of the policy extends $300,000.00 in coverage to the policyholder for “sums that the

[policyholder] becomes legally obligated to pay as damages because of ‘injury’ to which this

insurance applies if liability for such ‘injury’ is imposed on the insured by reason of the selling,

serving or furnishing of any alcoholic beverage.”

          17.   In response to the underlying tort action Capitol has provided, and continues to

provide, coverage to the policyholder, including defense and indemnity, under this portion of the

policy.

          18.   A separate and distinct portion of the policy is entitled “Commercial General

Liability Coverage Part.” This portion of the policy extends coverage in the amount of $1 million

to the policyholder for ”sums that the [policyholder] becomes legally obligated to pay as

damages because of ‘bodily injury’ . . . caused by an ‘occurrence.’”

          19.   In the course of the underlying action defendant Higgins has demanded that

plaintiff remit $1.3 million in settlement on behalf of the policyholder.




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       20.     In response to this demand Capitol disclaimed coverage under the Commercial

General Liability Coverage Part of the policy pursuant to the Liquor Liability Exclusion. A copy

of Capitol’s partial disclaimer letter is attached hereto as Exhibit C.

       21.     By way of the same correspondence, Capitol further advised that in the event

coverage under the Liquor Liability Coverage Part and Commercial General Liability Coverage

Part was indeed triggered, the maximum amount recoverable under the entire policy would be

the $1 million available under the Commercial General Liability Coverage Part, pursuant to the

Non-Pyramiding of Limits provision.

                                     NATURE OF ACTION

       22.     This is a declaratory judgment action pursuant to Rule 57 of the Federal Rules of

Civil Procedure and 28 U.S.C. § 2201.

       23.     In this action Capitol seeks a declaration of rights and obligations under the policy

issued to the policyholder.

                         AS AND FOR A FIRST CAUSE OF ACTION

       24.     Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through

23 of this Complaint with the same force and effect as if fully set forth herein.

       25.     The Commercial General Liability Coverage Part excludes coverage for “bodily

injury” by reason of the policyholder causing or contributing to the intoxication of any person

and/or the furnishing of alcoholic beverages to a person under the legal drinking age. The

relevant portion of the policy excludes coverage as follows:

               Liquor Liability

              “Bodily injury” or “property damage” for which any insured may be
              held liable by reason of:

              (1)      Causing or contributing to the intoxication of any person;



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              (2)       The furnishing of alcoholic beverages to a person under the
              legal drinking age or under the influence of alcohol; or

              (3)       Any statute, ordinance or regulation relating to the sale, gift,
              distribution or use of alcoholic beverages.

              This exclusion applies only if you are in the business of
              manufacturing, distributing, selling, serving or furnishing alcoholic
              beverages.

       26.     Based upon the allegations contained in the underlying Complaint defendant

Higgins is seeking damages for bodily injuries by reason of the policyholder’s provision of

alcohol to her while she was under the legal drinking age and/or by reason of the policyholder

causing or contributing to her intoxication.

       27.     Therefore, any and all damages arising out of the underlying action are excluded

from coverage under the Commercial General Liability Coverage Part of the policy pursuant to

the Liquor Liability Exclusion.

       28.     For these reasons, plaintiff requests a declaration that it has no obligation to

defend or indemnify the policyholder in response to the underlying action under the Commercial

General Liability Coverage Part of the policy.

                       AS AND FOR A SECOND CAUSE OF ACTION

       29.     Plaintiff repeats and re-alleges the allegations contained in Paragraphs 1 through

28 of this complaint with the same force and effect as if fully set forth herein.

       30.     The Capitol policy extends $300,000.00 in coverage under the portion of the

policy entitled “Liquor Liability Coverage Part.”

       31.     The Capitol policy extends $1 million in coverage under the portion of the policy

entitled “Commercial General Liability Coverage Part.”

       32.     The policy includes an anti-stacking provision which states, in relevant part:




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                                 NON-PYRAMIDING OF LIMITS

                 This form changes the policy terms as follows:

                  Whenever an occurrence involves more than one coverage part or
                  policy issued by us, only one limit of insurance will apply. The limit
                  of insurance under all the coverage forms or policies shall not exceed
                  the highest applicable limit of insurance under any one coverage part
                  or policy.

       33.       In the event the underlying action triggers coverage under more than one portion

of the policy, the policyholder cannot stack the limits available under the applicable portions of

the policy.

       34.       For these reasons, it is requested that this Court declare that the maximum limits

of coverage available to the policyholder in response to the underlying action are the single

highest policy limits available amongst the applicable portions of the policy.



WHEREFORE the plaintiff, Capitol Specialty Insurance Company demands the following relief:

              a. An order declaring that plaintiff, Capitol Specialty Insurance Company is not

                 obligated to defend or indemnify the policyholder under the Commercial General

                 Liability Coverage Part of the policy in response to the underlying action.

              b. An order declaring that the anti-stacking endorsement included in the policy

                 limits the coverage available to the single highest limits available under the

                 applicable portions of the policy.

              c. An order declaring that the highest single limits available under the policy is

                 $300,000 pursuant to the Liquor Liability Coverage Part.

              d. Such other and further relief that this Court deems just and proper.




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                                          Respectfully submitted,

                                          Plaintiff,

                                          CAPITOL SPECIALTY INSURANCE
                                          CORPORATION,

                                          By its attorneys,


                                          /s/ Suzanne M. Whitehead
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Dated: June 23, 2014




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